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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE

VALVE, L.L.C.,
Plaintiff(s),
v,
SIERRA ENTERTAINMENT, INC.,

Defendant(s).

 

 

 

TRIAL DATE
Deadline for joining additional parties
Disclosure of expert testimony under FRCP 26(a)(2)

All motions related to discovery must be filed by
and noted on the motion calendar no later than the
third Friday thereafter (see CR7(d))

Discovery completed by

All dispositive motions must be filed by
and noted on the motion calendar no later than the
fourth Friday thereafter (see CR 7(d))

Setilement conference per CR 39.1(c)(2) held no later than
Mediation per CR 39.1(c)(3) held no later than

All motions in limine must be filed by
and noted on the motion calendar no later than the
second Friday thereafter

Agreed pretrial order due

ORDER SETTING TRIAL DATE & RELATED DATES - 1

Case No, C02-1683Z7

MINUTE ORDER SETTING TRIAL

DATE & RELATED DATES

JANUARY 12, 2004
February 28, 2003
July 16, 2003
August 15, 2003

September 14, 2003
October 14, 2003

November 13, 2003
Deeember 13, 2003
December 15, 2003

December 31, 2003

 
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Pretrial conference to be held at 3:00 pm on January 2, 2004
Trial briefs, proposed voir dire questions, jury instructions, and January 7, 2004

proposed findings of fact and conclusions of law

Length of Trial: 7-10 days Jury XXX Non Jury

These dates are set at the direction of the Court after reviewing the joint status report and
discovery plan submitted by the parties. All other dates are specified in the Local Civil Rules. If
any of the dates identified in this Order or the Local Civil Rules fall on a weekend or federal
holiday, the act or event shall be performed on the next business day. These are firm dates that
can be changed only by order of the Court, not by agreement of counsel or the parties. The
Court will alter these dates only upon good cause shown: failure to complete discovery within
the time allowed is not recognized as good cause.

As required by CR 37(a), all discovery matters are to be resolved by agreement if
possible. Counsel are further directed to cooperate in preparing the final pretrial order in the
format required by CR 16.1, except as ordered below.

The original and one copy of the trial exhibits are to be delivered to the courtroom the
morning of trial. Each exhibit shall be clearly marked. Plaintiffs exhibits shall be numbered
consecutively beginning with |; defendant’s exhibits shall be numbered consecutively beginning
with A-1. Duplicate documents shall not be listed twice: once a party has identified an exhibit in
the pretrial order, any party may use it. Each set of exhibits shall be submitted in a three-ring
binder with appropriately numbered tabs.

Counsel must be prepared to begin trial on the date scheduled, but it should be understood
that the trial may have to await the completion of other cases.

Should this case settle, counsel shall notify Casey Condon as soon as possible. Pursuant
to GR 3(b), an attorney who fails to give the Deputy Clerk prompt notice of settlement may be

subject to such discipline as the Court deems appropriate.

ORDER SETTING TRIAL DATE & RELATED DATES - 2

 
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A copy of this Minute Order shall be mailed to all counsel of record.

DATED this {23U-7\_ day of January, 2003.

Coy pe

 

Casey Codon, Deputy Clerk to
Thomas S/Zilly, Judge
206-553-0281

ORDER SETTING TRIAL DATE & RELATED DATES - 3

 
